 8:14-cr-00209-LSC-MDN            Doc # 34    Filed: 03/18/15   Page 1 of 1 - Page ID # 88




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )                8:14CR209
       vs.                                     )
                                               )                  ORDER
                                               )
JEFFREY NEGUS and                              )
GREGORY NEGUS,                                 )
                                               )
                     Defendants.


        This matter is before the court on defendant Gregory Negus’ unopposed motion to
continue filing pretrial motions [32] which the court shall construe as a motion to continue
trial. As the case is complex and involves thousands of pages of discovery, counsel needs
additional time to investigate and prepare for trial. The defendant has complied with
NECrimR 12.1(a). For good cause shown,

       IT IS ORDERED that the motion to continue trial [32] is granted, as follows:

      1. The jury trial, for both defendants now set for April 7, 2015 is continued to
July 28, 2015.

        2.      In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends
of justice will be served by granting this continuance and outweigh the interests of the
public and the defendant in a speedy trial. Any additional time arising as a result of the
granting of this motion, that is, the time between today’s date and July 28, 2015, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act. Failure to grant a continuance would deny counsel for the defendant the
reasonable time necessary for effective preparation, taking into account the exercise of due
diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED March 18, 2015.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
